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AO 245B (CASDRev. 08/14) Judgment in a Petty Criminal Case


                                    UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                               V.                                   (For Offenses Committed On or After November 1, 1987)

                  Leticia Isabel Siordia                               Case Number:         21-cr-00342-BGS
                                                                    Megan Elizabeth Foster
                                                                    Defendant’s Attorney
REGISTRATION NO.               27538509
☐   _

The Defendant:

☒ pleaded guilty to count(s)

☐ was found guilty on count(s)          Count 1 of the Superseding Information
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                  Nature of Offense                                                                  Number(s)
18:3                             Accessory After the Fact (Misdemeanor)                                                1




    The defendant is sentenced as provided in pages 2 through                 2            of this judgment.


☐ The defendant has been found not guilty on count(s)
☒ Count(s) 1-4 of Underlying Information                      are   Dismissed without prejudice on the motion of the United States.

        Assessment : $10 PA Waived
☒       _


☒ No fine                    ☐ Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                    May 3, 2021
                                                                    Date of Imposition of Sentence



                                                                    HON. Bernard G. Skomal
                                                                    UNITED STATES MAGISTRATE JUDGE



                                                                                                                 21-cr-00342-BGS
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AO 245B (CASD Rev. 08/14) Judgment in a Petty Criminal Case

DEFENDANT:                Leticia Isabel Siordia                                                   Judgment - Page 2 of 2
CASE NUMBER:              21-cr-00342-BGS

                                                     IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Supervised Probation (1 Year)




 ☐     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ☐     The court makes the following recommendations to the Bureau of Prisons:




 ☐     The defendant is remanded to the custody of the United States Marshal.

 ☐     The defendant shall surrender to the United States Marshal for this district:
       ☐     at                               P.M.             on
       ☐     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 ☐
       Prisons:
       ☐     on or before
       ☐     as notified by the United States Marshal.
       ☐     as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                         , with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                       By                   DEPUTY UNITED STATES MARSHAL



                                                                                                         [CaseNumber]
